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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10 UNITED STATES OF AMERICA,                   No. CR 24-236(A)-SPG

11              Plaintiff,                     ORDER CONTINUING TRIAL DATE AND
                                               FINDINGS REGARDING EXCLUDABLE
12              v.                             TIME PERIODS PURSUANT TO SPEEDY
                                               TRIAL ACT
13
      JASVEEN SANGHA,                          PROPOSED TRIAL DATE:         03/04/25
14      aka “the Ketamine Queen,” and          PROPOSED PTC DATE:           02/19/25
      SALVADOR PLASENCIA,
15      aka “Dr. P.,”

16               Defendants.

17

18         The Court has read and considered the Stipulation Regarding
19    Request for (1) Continuance of Trial Date and (2) Findings of
20    Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
21    parties in this matter.      The Court hereby finds that the
22    Stipulation, which this Court incorporates by reference into this
23    Order, demonstrates facts that support a continuance of the trial
24    date in this matter, and provides good cause for a finding of
25    excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
26         The Court further finds that:        (i) the ends of justice served
27    by the continuance outweigh the best interest of the public and
28    defendant in a speedy trial; (ii) failure to grant the continuance
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 1    would be likely to make a continuation of the proceeding impossible,

 2    or result in a miscarriage of justice; and (iii) failure to grant

 3    the continuance would unreasonably deny defendant continuity of

 4    counsel and would deny defense counsel the reasonable time necessary

 5    for effective preparation, taking into account the exercise of due

 6    diligence.

 7         THEREFORE, FOR GOOD CAUSE SHOWN:

 8         1.      The joint trial in this matter is continued from October

 9    8, 2024 (for defendant Salvador PLASENCIA) and October 15, 2024 (for

10    defendant Jasveer SANGHA) to March 4, 2025, for both defendants.

11         2.      The time period from the date the stipulation was filed

12    September 3, 2024, to March 4, 2025, inclusive, is excluded in

13    computing the time within which the trial must commence, pursuant to

14    18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i), and (B)(iv).

15         3.      A pretrial hearing is ordered for February 19, 2025, at

16    9:30 a.m., and a hearing schedule for motions to be heard at the

17    pretrial conference is ordered as follows: any pretrial motions

18    shall be filed by January 22, 2025, any oppositions or responses

19    shall be filed by February 5, 2025, and any replies shall by

20    February 12, 2025.

21         4.      Defendants PLASENCIA and SANGHA or ordered to appear in

22    Courtroom 5C of the Federal Courthouse, 350 W. 1st Street, Los

23    Angeles, California on March 4, 2025, at 8:30 a.m. for trial, and on

24    February 19, 2025, at 9:30 a.m. for the pretrial conference.

25         5.      Nothing in this Order shall preclude a finding that other

26    provisions of the Speedy Trial Act dictate that additional time

27    periods are excluded from the period within which trial must

28    commence.    Moreover, the same provisions and/or other provisions of
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 1    the Speedy Trial Act may in the future authorize the exclusion of

 2    additional time periods from the period within which trial must

 3    commence.

 4         6.     The parties, however, should not expect a further

 5    continuance.    The Court is granting this lengthy continuance, which

 6    is the second continuance for defendant SANGHA, with the

 7    understanding that counsel have considered their schedules and

 8    selected the proposed dates (now accepted by the Court) when they

 9    will be prepared and available, after taking into account

10    conflicting commitments.      If another continuance is requested,

11    counsel shall provide a declaration explaining in detail why they

12    are not available, why they believed they would be available when

13    submitting this continuance request, and what unforeseen and

14    unavoidable events occurred in the interim.            The parties may be

15    required to appear in Courtroom 5C to address any further

16    continuance requests.

17         IT IS SO ORDERED.

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19      September 3, 2024
       DATE                                    HONORABLE SHERILYN PEACE GARNETT
20                                             UNITED STATES DISTRICT JUDGE

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